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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                  )
AMERICAN ALLIANCE FOR EQUAL       )
RIGHTS,                           )
                                  )
                                  )
           Plaintiff,             )
                                  )
      v.                          )    Civil Action No. 1:24-cv-00509
                                  )
JORGE ZAMANILLO et al.,           )
                                  )
           Defendants.            )
____________________________________)

                               NOTICE OF APPEARANCE


      Please take notice of appearance of the following counsel on behalf of Defendants:

                                  Dorothy Matilda Canevari
                            Trial Attorney (NY Bar No. 5989694)
                                  U.S. Department of Justice
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Dated: February 23, 2024

                                           Respectfully submitted,

                                           BRIAN M. BOYNTON
                                           Principal Deputy Assistant Attorney General

                                           EMILY NESTLER
                                           Assistant Branch Director, Federal Programs Branch

                                           /s/ Dorothy M. Canevari
                                           DOROTHY M. CANEVARI
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                           Counsel for Defendants
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                             CERTIFICATE OF FAMILIARITY

       Pursuant to Local Civil Rule 83.2(e), I hereby certify that I am personally familiar with the

Local Rules of this Court.


                                             /s/ Dorothy M. Canevari
                                             Dorothy M. Canevari (NY Bar No. 5989694)
